Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 1 of 29

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

MACHELLE MATTHEWS,

Plaintiff,

“Ve- CIVIL ACTION

File NO.:

CLAYTON COUNTY PUBLIC

SCHOOLS, DR. PAM

ADAMSON, MARK CHRISTMAS,
JESSEE GOREE, OPHELIA
BURROUGHS, MARY BAKER,

JUDY HOHNSON, ALIEKA ANDERSON,
AND BENJAMIE STRAKER,
Individually and in their
Capacity as Board of Education
Members for the Clayton County
Schools.

JURY TRIAL DEMANDED

+ + € + FF FF FF FF FF FF FF FF FF F KF F

COMPLAINT FOR DAMAGES
COMES NOW MACHELLE MATTHEWS, Plaintiff in the above
styled action and files her Complaint for Damages
against the above named Defendants and shows the Court
as follows:

INTRODUCTION
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 2 of 29

This is an action for race discrimination, sex
discrimination and a violation of the Equal Pay Act
based on violations of Plaintiff's federally protected
Civil rights as codified in 42 U.S.C. §2000e et seg
(Title VII of the Civil Rights Act of 1964, as amended
by the Civil Rights Act of 1001) 42 U.S.C. §1981 and

the Equal Pay Act of 1963, as amended, 29 USC 206(d).

Plaintiff filed a timely charge with the Atlanta
office of the United States Equal Employment
Opportunity Commission (“EEOC”). Plaintiff received a
Notice of Right to Sue from the FEOC within the last
ninety (90) days and has complied with all other
conditions precedent to the institution of this

lawsuit.

JURISDICTION
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 3 of 29

This. Court. has jurisdiction pursuant to 28 U.8.¢c.
SL331, 23 U0.8.€~ § i222 (al, 28 U.8.0. 81348, and 42

U«deC. $20006-5 (£) (3)

The amount in controversy exceeds $75,000.00,

excluding interest and cost.

This Court has personal jurisdiction over all
Defendants in that all Defendants are residents of the
Northern District of Georgia and Defendant Clayton
County School System does business and has its
principal place of business in the Northern District of

Georgia, Georgia.

VENUE

aS.

Defendant is located within the Northern District
of Georgia. All actions alleged herein occurred within
the Atlanta Division of the Northern District of
Georgia. Venue in this district is proper for

Defendant under 28 U.S.C. §1391(b) and (a), 42 U.S.c.

a
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 4 of 29

$2000e-5 (f) (3), and Rule 3.1B (1) (b), Local Rules of

the Northern District of Georgia.

PARTIES
6.

Plaintiff is a long standing administrator with the
Clayton County Public Schools for some seventeen (17)
years. Plaintiff ascended to her current position as an
Assistant Superintendent in 2014. As an administrator
Plaintiff has no tenure status and has no right to a
Fair Dismissal Act hearing and has no obligation to
exhaust any administrative remedies before bringing

this actien,

The Clayton County Schools is a subdivision of the
State of Georgia and operates the public school system
for Clayton County, Georgia. The Clayton County Schools
is subject to the jurisdiction of this Court and may be
served with summons and complaint by serving Dr. Pam

Adamson, Chair of the Board of the Clayton County
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 5 of 29

Schools at 1058 Fifth Avenue, Jonesboro, Clayton
County, Georgia.
Bs

Mark Christmas is a member of the Clayton County
Schools Board of Education and is a resident of Clayton
County, Georgia and is subject to the Juvisdietion of
this Court. Mark Christmas may be served at the address
of the Clayton County Schools, located at 1058 Fifth
Avenue, Jonesboro, Clayton County, Georgia, or such
other place where he may be located in Clayton County,
Georgia.

G.

Jessie Goree is a member of the Clayton County
Schools Board of Education and is a resident of Clayton
County, Georgia and is subject to the jurisdiction of
this Court. Jessie Goree may be served at the address
of the Clayton County Schools, located at 1058 Fifth
Avenue, Jonesboro, Clayton County, Georgia, or such
other place where she may be located in Clayton County,

Georgia.
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 6 of 29

les
Ophelia Burroughs is a member of the Clayton County
Schools Board of Education and is a resident of Clayton
County, Georgia and is subject to the jurisdiction of
this Court. Ophelia Burroughs may be served at the
address of the Clayton County Schools, located at 1058
Fifth Avenue, Jonesboro, Clayton County, Georgia, or
such other place where she may be located in Clayton
County, Georgia.
ine
Mary Baker is a member of the Clayten County
Schools Board of Education and is a resident of Clayton
County, Georgia and is subject to the Jusisdiction ef
this Court. Mary Baker may be served at the address of
the Clayton County Schools, located at 1058 Fifth
Avenue, Jonesboro, Clayton County, Georgia, or such
other place where she may be located in Clayton County,

Georgia.
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 7 of 29

12,

Judy Johnson is a member of the Clayton County
Schools Board of Education and is a resident of Clayton
County, Georgia and is subject to the jurisdiction of
this Court. Judy Johnson may be served at the address
of the Clayton County Schools, located at 1058 Fifth
Avenue, Jonesboro, Clayton County, Georgia, or such
other place where she may be located in Clayton County,
Georgia.

13s

Alieka Anderson is a member of the Clayton County
Schools Board of Education and is a resident of Clayton
County, Georgia and is subject to the jurisdiction of
this Court. Alieka Anderson may be served at the
address of the Clayton County Schools, located at 1058
Fifth Avenue, Jonesboro, Clayton County, Georgia, or
such other place where she may be located in Clayton

County, Georgia.
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 8 of 29

14.

Benjamin Straker is a member of the Clayton County
Schools Board of Education and is a resident of Clayton
County, Georgia and is subject to the jurisdiction of
this Court. Benjamin Straker may be served at the
address of the Clayton County Schools, located at 1058
Fifth Avenue, Jonesboro, Clayton County, Georgia, or
such other place where he may be located in Clayton
County, Georgia.

15.

Luvenia Jackson [not named in this action as a
Defendant] is listed only in her capacity as the former
Superintendent and as the party designated at all
relevant times to carry out the policies and directives
of the Clayton County Schools. Since she is not a named
Defendant and not a party to this litigation, no

service is necessary for Luvenia Jackson.
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 9 of 29

STATEMENT OF FACTS
LGe
Plaintiff was employed by the Clayton County
Schools (“CCSS”) during the school year 1999-2000.
PISinELEE' Ss first position was as an Assistant
Principal at Forest Park High School and her last
position was as an Assistant Superintendent, working
under the leadership of Luvenia Jackson as
Superintendent. PLALBELEL s direct supervisor was
Deputy Superintendent Jackie Hubbert.
LT
When elevated to the position of Assistant
Superintendent [2014-2015] Plaintiff was assigned to
the division of schools most in need in the cCcssS.
During the 2015-2016 school year, in an effort to
provide needed assistance to schools that were not
improving and not meeting expectations of the State of
Georgia and CCSS, Luvenia Jackson (“Superintendent”)

assigned Plaintiff to a different set of schools.
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 10 of 29

LBs

In an effort to make improvements in her new set of
schools Plaintiff evaluated each and every
administrator under her direct supervision and
suggested ways in which schools would and could
improve. Ostensibly, some under her supervision were
not pleased with her style or suggested improvements
and complained to members of the CCSS Board of
Education.

1.

Plaintiff has received proficient to exemplary
evaluations for each and every evaluation period since
being employed by CCSS. Moreover, Plaintiff was elected
as the principal of the year for 2009 by CCSS and
recognized by the State of Georgia in 2010 as the
National Title I Distinguish School Award [only two
schools are recognized in the State of Georgia each

year].

10
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 11 of 29

2D,
Plaintiff was employed with CCSS for some seventeen
(17) years and worked in the administration of nine (9)
superintendents. While serving in each administration,
Plaintiff has been recommended each year for renewal of
her contract. Most of the current board members were
CCSS board members when she was renewed for continued
employment.
Lg
Plaintiff was evaluated on her performance for the
2015-2016 school year and recommended for renewal of
her contract by Superintendent Jackson for the school
year 2016-2017. Plaintiff’s name was submitted, in
routine form, by Superintendent Jackson, along with the
names of all personnel who were recommended for renewal
of their employment contract for the school year 2016-
2017.
22 »
At the February 1, 2016 Board meeting, when

Plaintiff’s contract was submitted for renewal, the

11
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 12 of 29

Board convened an executive session to discuss
personnel matters, as is allowed by the Georgia Open
Meetings Act.
Zo

During the Executive Session Plaintiff was again
recommended for renewal and the Board rejected the
Superintendent’s request to have Plaintiff’s contract
renewed. Upon information and belief, as was confirmed
in an Open Record’s Act request, Plaintiff was the
first administrator whose contract was non-renewed by
CCSs after a recommendation was made by the

Superintended to renew a contract.

24,

Plaintiff was advised verbally by the Human
Resources Officer on February 3, 2016 that her contract
had been non-renewed.

2D

On February 8, 2016 counsel for Plaintiff sent ccss

a letter, as required by 0O.C.G.A. § 20-2-211(b),

requesting a written explanation as to why Plaintiff's

12
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 13 of 29

contract was not renewed. The Superintendent responded
on behalf of the Board on March 4, 2016 stating that
“[t]he Clayton County Board of Education did not renew
your employment as an assistant superintendent because
it had lost faith in your judgment and leadership as
well as for work performance concerns”.

26.

The Board did not hold a discussion nor did it
receive any evidence from any source regarding the
leadership skills of Plaintiff during the regular board
meeting. Moreover, no Board member has ever evaluated
the leadership skills of Plaintiff [nor can they] to
make a decision regarding the leadership skills of
PLeLae Lie , All evaluations and reviews as to
Plaintiff’s job performance come from the Deputy
Superintendent and/or the Superintendent, who made an
informed decision after evaluating Plaintiff to

recommend renewal of Plaintiff’s contract.

13
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 14 of 29

21 «
Plaintiff knows of no review, audit or other
process, thar was conducted by the Deputy
Superintendent, Superintendent or Human Resources

Department that shows her leadership skills to be
deficient. Additionally, in the absence of = such
information Plaintiff shows that no empirical data or
information exists upon which a finding of a “loss in
faith of her judgment” can or could be made without
receipt of such unfounded information from a_ source

outside the confines of the executive session.

28.

At the conclusion of the executive session, the
Board convened its regular open meeting and voted the
“{a]pproval of the Administrative Re-election List,
less the name of Plaintiff and Clarence Cox, as
discussed in executive session”.

29.
During the open meeting the Board never received

evidence from any source that would confirm or affirm

14
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 15 of 29

its reason or rational for the non-renewal of
PLISLNELEE’ $s contract.
30.

Each named Defendant executed and Signed, under
oath, the Clayton County Board of Education Affidavit,
as required by 0O.C.G.A. § 15-14-4(a), Stating that the
subject matter of the meeting or closed portion of the
meeting thereof was devoted to matters within the
exceptions provide by law and identified the specific
relevant exception.

i: i

At the close of the February 1, 2016 Board meeting
each named Defendant executed the required Affidavit,
alleging that the only matters discussed were pursuant
to the exception stated in 0.C.G.A. § S0-14-3(4) and
O.C.G.A. § 50-14-3(6). 0O.C.G.A. § 50-14-3(6) exception
relates to discussion or deliberation upon the
appointment, employment, compensation, HhiPing,
disciplinary action or dismissal, or periodic

evaluation or rating of a public officer or employee.

15
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 16 of 29

32.

Upon information and belief [as confirmed by the
results of an Open Records NOt request] Plaintiff does
not have on file an evaluation for her performance for
the school year 2015-2016. Moreover, Plaintiff did not
receive her 2015-2016 evaluation at the time of her
nonrenewal. As such, Plaintiff has never been evaluated
in her position as an Assistant Superintendent for CCSS
that would be available for the Defendants to review.

33 «

All performance and leadership assessments have
been or were performed by the Deputy Superintendent
and/or the Superintendent and no Defendant or Board
member has the authority to perform independent
evaluations or reviews of district personnel other than
the Superintendent or other assigned superiors.

34.

Upon information and belief the Superintendent

submitted no evaluations or reviews of Plaintiff as an

Assistant Superintendent [none existed] at the February

16
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 17 of 29

1, 2016 Board Meeting and, based on the decision of the

Superintendent, Plaintiff was recommended for renewal.

35.

Although allowed to meet in executive session to
discuss personnel matter, as stated above, the
exception does not apply to “the receipt of evidence or
when hearing argument on personnel matters, including
whether to impose disciplinary action or dismiss a
public officer or employee or when considering or
discussing matters of policy regarding the employment
or hiring practices of the agency.” There was, nor
could there be, such a discussion as to Plaintiff’s
performance without the Board having been presented
with evidence to support such a finding outside the
Board meeting. Moreover, there could be no finding of a
loss of confidence without supporting evidence to make
such a finding and none was presented at the regular
Board meeting. To support such a finding the
Defendants, in executive session, would have had to

receive evidence to sustain its rationale for non-

17
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 18 of 29

renewal outside the confines of a board meeting; which
is not allowed to occur by the Open and Public Meetings
Act.

36.

Minutes of the closed session are required to be
kept, which will support Plaintiff’s contention that
there was a violation of Chapter 14 of the Open and
PUBLIC Meetings Act. The Chair of the Board
specifically violated the provisions of 0.C.G.A. § 50-
14-4(2) when she did not rule any discussion outside
the permitted scope of the executive session relative
to Plaintiff’s contract. The violation occurred when
there was an attempt to receive evidence as stated
above.

B's

In spite of the reason [loss of confidence] for the
alleged non-renewal of Plaintiff's CONT Fact, the
Defendants and CCSS continued Plaintiff in her current
position with her same duties, inter alia, evaluating

and rehiring principals to supervise schools in the

18
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 19 of 29

ccss. This action is evidence that the allegation that
the Defendants lost confidence an Plaintiff’s
leadership ability was no more than a subterfuge to
cover Defendants disparate treatment of Plaintiff based
on her sex and race.

36.

The disparate treatment and sexual discrimination
perpetuated against Plaintiff is supported by Plaintiff
having been falsely accused of impropriety with a
fellow male employee when, in fact, no such impropriety
occurred. The matter was investigated and Plaintiff was
found not to have committed such conduct.

aos

On the other hand, Plaintiff’s co-worker [a male]
who held and holds the same position as Plaintiff was
accused of sexual impropriety with a co-worker and was
renewed by CCSS whereas Plaintiff was not renewed.

40.

In addition to a violation of Plaintiff’s contract

rights based on sexual discrimination and disparate

19
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 20 of 29

treatment. Plaintiff was paid less that her male

counterpart, all in violation of the Equal Pay Act.
41.

Plaintiff timely filed a charge with the EEOC and

received her Right to Sue notice.

42.

Defendants Jessie Goree and Defendant Alieka
Anderson, individually and jointly, have made
disparaging remarks in a public setting which are
actionable as slanderous per se. That is, Defendants
Jessie Goree and Alieka Anderson made charges against
Plaintiff in reference to her _ trade, office, or

profession, calculated to injure Plaintiff therein.

COUNT ONE
TITLE VII - RACE AND SEX DISCRIMINATION

43.

Plaintiff incorporates herein by reference

paragraphs one through forty two of Plaintiff's

Complaint.

20
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 21 of 29

A4,

Defendants engaged in intentional race and sex
discrimination by failing £6 renew Plaintiff's
contract, a well-qualified black female, from her
existing and funded position, based on her race and sex
by retaining a similarly situated male employee who was
no more qualified to retain his position than was

Plaintift,

45.

Defendant CCSS and its agents, in concert with each
other, misrepresented that the position was non-renewed
in that the “Board” has lost faith in Plaintiff and for
her lack of performance in her position when in fact
this representation was a subterfuge to remove
Plaintiff and keep her male counterpart who was not
performing up to par and Plaintiff having been assigned
his schools due to his poor performance in his

position.

21
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 22 of 29

46.

The Superintendent, as she had done in the past,
recommended Plaintiff for renewal and, upon information
and belief, she has never had an administrative renewal
rejected by the Board. The Superintendent was not aware
of any deficiency in the performance of Plaintiff and
no such information was ever conveyed to a Board

member.
Al.

Plaintiff shows that her work performance was
outstanding and she had never received a complaint from
a Board member during her employment. Moreover,
Defendant Board members opined that “they never wanted
to employ Plaintiff in her position from the beginning
of her employment as an administrator”; yet she was

renewed without difficulty.

22
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 23 of 29

48.

Defendant’s conduct violated 42 U.S.C. §2000e et
Seq., Title VII of the Civil Rights Act of 1964, as

amended by the Civil Rights Act of 1991.

49,

Defendants’ discriminatory conduct, in violation of
Title VII and Section 1981, has caused Plaintiff to
suffer a loss of pay, benefits, ability to secure

adequate employment, prestige and cost.

50.

Defendants’ intentional and illegal actions caused
Plaintiff to suffer mental and emotional distress
entitling her to compensatory and punitive damages
pursuant to 42 U.S.C. § 198la(b). Plaintiff is entitled
to additional relief as authorized by section 706(g) of

the Civil Rights Act of 1964 [43 U.S.C. § 2000e-5(g).
COUNT TWO

CLAIM FOR LIBEL AND SLANDER AGAINST
DEFENDANTS

23
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 24 of 29

De «

PLALneLer incorporates herein by reference
paragraphs one through fifty one of Plaintiff’s

Complaint.
52

Defendant Jessie Goree and Defendant Alieka
Anderson represented to others in a public forum
wherein they, individually and jointly, accused
Plaintiff of criminal conduct during the performance of
her duties as an administrator with CCSS. Specifically
Defendant Jessie Goree accused Plaintiff of
misappropriating funds from one of her schools when, in
fact Defendant Jessie Goree very well know that this
allegation was incorrect, false and was done with the
malicious intent of harming Plaintiff and her

reputation as an education administrator.
53.

Defendant Alieka Anderson, represented in a public

forum that Plaintiff was guilty of a debasing act with

24
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 25 of 29

the intent of including her form society; that is, she
was having affairs and sexual relations with some
unknown ‘men’ during her tenure as an administrator
with CCSS such that she was not fit be an administrator
with CCSS. Said statement was made in a vile attempt to
harm Plaintiff in her reputation, trade, profession and
was made to injure Plaintiff as an educator and

education administrator.
a

The actions of Defendant Jessie Goree and Defendant
Alieka Anderson caused Plaintiff nominal and special
damages in a sum to proven at trial. Moreover, the
actions of these Defendants were vile, willful, wanton

and both should be subjected to paying punitive damages

to Plaintiff.

COUNT THREE
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

55.

25
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 26 of 29

PLALBeL eS incorporates herein by reference
paragraphs one through fifty four one of Plaintiff's
Complaint.

56.

The conduct of Defendants, individually and
collectively in non-renewing Plaintiff’s contract for
no apparent reason and with a nefarious and vindictive
motive were extreme acts and exemplified outrageous
conduct sufficient to support a cause of action for
intentional infliction of emotional distress. The
conduct of Defendants was so outrageous in character,
and so extreme in degree, as to go beyond all possible
bounds of decency, and is regarded as atrocious, and

utterly intolerable in a civilized community.

isl

Defendants’ very well knew that their conduct and
actions against Plaintiff were without cause and were
done intentionally. In support of her position of such

conduct being outrageous Plaintiff shows that the

26
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 27 of 29

accrediting agency for secondary schools admonished
Defendants that it was a violation of the standards for
secondary schools to interfere with employment matters
in that such matters were within the sole discretion of
the Superintendent. Yet, Board members ignored this
directive, falsified information, misrepresented facts
as to Plaintiff's performance as a subterfuge for her
termination, treated her in a disparate manner than
other similarly situated male employees based on her

Sex.

98.

Plaintiff is entitled to an award of punitive
damages based on the wanton and willful Sonduct of

Defendants.

PRAYER FOR RELIEF

 

a

WHEREFORE, Plaintiff prays for a judgment as

follows;

27
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 28 of 29

(a)

(e)

that the Court order Defendant SSCC_ to
reinstate Plaintiff or to pay Plaintiff full
and fair front pay in lieu of reinstatement;
that the Court grant Plaintiff all back pay,
with interest;

that the Court grant Plaintiff compensatory
damages for the pain and suffering,
humiliation, and emotional distress Defendants’
caused PLAT CL by Defendant’s illegal
conducts

that the Court grant Plaintiff punitive damages
for Defendant’s intentional, malicious, and
recklessly indifferent violations of
Plaintiff’s federally protected civil rights;
that the Court grant Plaintiff all employment
benefits she would have enjoyed had she not
been discriminated against;

that the Court grant Plaintiff expenses of
litigation, including reasonable attorneys’

fees, pursuant to Title VII;

28
Case 1:18-cv-04227-ELR Document1 Filed 09/05/18 Page 29 of 29

(g)

(h)

that the Court grant Plaintiff a trial by a
jury of her peers;
that the Court grant permanent and injunctive
relief prohibiting Defendant from engaging in
further discriminatory and retaliatory conduct;
That Plaintiff be awarded nominal, special and
punitive damages, including attorney’s fees
against Defendants Jessie Goree and Alieka
Anderson; and
that the Court grant Plaintiff any other and
further relief this Court deems just and
appropriate.

Respectfully submitted,

LAWSON & THORNTON, P.C.

/s/ George O. Lawson, Jr.

George O. Lawson, Jr.
Georgia Bar No. 440200

LAWSON & THORNTON, P.C.
Waterstone Tower

4751 Best Road

Suite 208
Atlanta,
(404) 344-4401

(404) 763-0071
geolawson@ltlawfirm.net

GA 30337

29
